               Case 2:20-cr-00105-JCC Document 89 Filed 12/24/20 Page 1 of 3



 1                                                             The Honorable John C. Coughenour

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 7                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   UNITED STATES,
                                                      NO. CR 20 -105 JCC
10                          Plaintiff,
                                                       DEFENDANT KENNETH JOHN
11        v.                                           RHULE’S UNOPPOSED MOTION TO
                                                       SEAL RECORDS
12   KENNETH JOHN RHULE,
                                                       NOTE ON MOTION CALENDAR:
13                          Defendant.                 DECEMBER 24, 2020

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15             Defendant Kenneth John Rhule, by and through his counsel of record, Peter

     Offenbecher of Skellenger Bender, P.S., hereby requests that Exhibits A and B to the
16
     Defendant’s Motion to Reopen Detention Hearing, be placed under seal due to the sensitive
17
     personal medical information contained herein.             The exhibits describe personal
18
     medical information that should not be part of the public record.
19             Undersigned counsel has consulted with Assistant United States Attorney Marie
20   Dalton, counsel for the government, and communicated the reason for the sealing request.

21   Ms. Dalton indicates that the government does not oppose this motion to seal.

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         DEFENDANT KENNETH JOHN RHULE’S
         UNOPPOSED MOTION TO SEAL                                        1301 - Fifth Avenue, Suite 3401
         RECORDS – 1                                                     Seattle, Washington 98101-2605
                                                                                  (206) 623-6501
     3255509
               Case 2:20-cr-00105-JCC Document 89 Filed 12/24/20 Page 2 of 3



 1             DATED this 24th day of December, 2020.

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                                                Peter Offenbecher
 4                                              WSBA NO. 11920
                                                SKELLENGER BENDER, P.S.
 5                                              Attorneys for Kenneth John Rhule

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         DEFENDANT KENNETH JOHN RHULE’S
         UNOPPOSED MOTION TO SEAL                                      1301 - Fifth Avenue, Suite 3401
         RECORDS – 2                                                   Seattle, Washington 98101-2605
                                                                                (206) 623-6501
     3255509
                Case 2:20-cr-00105-JCC Document 89 Filed 12/24/20 Page 3 of 3



 1                                    CERTIFICATE OF SERVICE

 2             I, Kyle Follendorf, certify that on December 24, 2020, I electronically filed Defendant

 3   Kenneth John Rhule’s Unopposed Motion to Seal Records with the Clerk of the Court using

 4   the CM/ECF system, which will send notification of such filing to all attorneys of record.

 5             DATED this 24th day of December, 2020.

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                                                    Kyle Follendorf, Paralegal
 8                                                  SKELLENGER BENDER, P.S.

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         DEFENDANT KENNETH JOHN RHULE’S
         UNOPPOSED MOTION TO SEAL                                            1301 - Fifth Avenue, Suite 3401
         RECORDS – 3                                                         Seattle, Washington 98101-2605
                                                                                      (206) 623-6501
     3255509
